Case 5:10-cr-04045-MWB-LTS   Document 296   Filed 10/28/11   Page 1 of 6
Case 5:10-cr-04045-MWB-LTS   Document 296   Filed 10/28/11   Page 2 of 6
Case 5:10-cr-04045-MWB-LTS   Document 296   Filed 10/28/11   Page 3 of 6
Case 5:10-cr-04045-MWB-LTS   Document 296   Filed 10/28/11   Page 4 of 6
Case 5:10-cr-04045-MWB-LTS   Document 296   Filed 10/28/11   Page 5 of 6
Case 5:10-cr-04045-MWB-LTS   Document 296   Filed 10/28/11   Page 6 of 6
